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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                       Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.


                     JOINT MOTION TO TEMPORARILY STAY ACTION

        Plaintiffs, Intersections Inc. and Net Enforcers, Inc., and Defendants, Joseph C. Loomis

 and Jenni M. Loomis, for the reasons stated in the accompanying Memorandum of Law,

 respectfully request that the Court temporarily stay this action until June 30, 2011. As described

 in the accompanying Memorandum of Law, the parties have entered into a written Settlement

 Agreement dated April 6, 2011 and have filed a motion with the United States Bankruptcy Court

 for the District of Arizona seeking approval of the settlement. The parties anticipate that the

 settlement will be approved by the Bankruptcy Court, and that the actions to be taken pursuant to

 the settlement will be completed, by June 30, 2011.

 Dated: April 7, 2011                          Respectfully submitted,

                                               By:       /s/
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 7th day of April, 2011, I caused the foregoing Joint Motion to

 Stay Action to be electronically filed with the Clerk of the Court using the CM/ECF system,

 which will then send a notification of such filing (NEF) to the following:

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